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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF MASSACI-IUSETTS

 

DAWN M. JENKINS,

Plaintiff,
V' CIVIL ACTION NO. l:lZ-cv-10622-WGY

AFNI, INC.; DIVERSIFIED
CONSULTANTS, INC.; EQUIFAX
INFORMATION SERVICES, LLC, AND
EXPERIAN INFORMATION SOLUTIONS,
INC.,

Defendant.

 

 

STIPULATION OF DISMISSAL WITH PREJUDICE AS TO AFNI, INC.

The parties hereby stipulate to the dismissal of all claims as against the Defendant Afni,

Inc. With prejudice, Without costs, and With all rights of appeal Waived.

Plaintiff, AFNI, INC. and
DIVERSIFIED CONSULTANTS, INC.,
Byt ' attorneys,

Q¢M%WC) “%WL,

 

 

é/Dawn M. Jel@¢{ns J. O’Connor

33 Eastern Avenue, Unit 2 JOBO # 555251

Lynn, MA 01902 Peabody & Arnold LLP
600 Atlantic Avenue

Boston, MA 02210-2261
Tel. (617) 951-2100

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EQUIFAX INFORMATION
SERVICES, LLC
By its attorneys

ZYW%@@?

Brian J. Olson, Esq.
King & Spalding LLP
1180 Peachtree St. N.E.
Atlanta, GA 30309

 

AND

Jason B. Curtin, Esq.
Robinson & Cole
One Boston Place
Boston, MA 02108

EXPERIAN INFORMATION
SERVICES, LLC
By its attorneys

%MW/%/%¢M¢CW@

Maureen P. McAneny, Esq.
Jones Day

1420 Peachtree Street, N.E.
Atlanta, GA 30309

AND

Robert S. White, Esq.

Bourgeois White LLP

One West Boylston Street, Suite 307
Worcester, MA 016()5

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CERTIFICATE OF SERVICE

I, John J. O’Connor, hereby certify that on the 13th day of August, 2013, I served the
attached by causing a copy thereof to be sent electronically to the registered participants in this
case, if any, as identified on the Notice of Electronic Filing (NEF) and to be served by First Class
Mail Postage Prepaid to the following counsel of record:

Dawn May Jenkins
33 Eastern Avenue, Unit 2
Lynn, MA 01902

Maureen P. McAneny, Esq.

Jones Day

1420 Peachtree Street, N.E.

Atlanta, GA 30309

Jason B. Curtin, Esq. Brian J. Olson, Esq.
Robinson & Cole LLP King & Spalding LLP
One Boston Place, 25th Floor 1180 Peachtree St. N.E.
Boston, MA 02108-4404 Atlanta, GA 30309
Robert S. White, Esq.

Bourgeois White LLP

One West Boylston Street,

Suite 307

Worcester, MA 01605
w W
WJ. O’Connor

 

